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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      22-11068

      FTX Trading Ltd.




      Case Type :                       bk
      Case Number :                     22-11068
      Case Title :                      FTX Trading Ltd.
      Judge :                           John T. Dorsey
      Courtroom :                       5th Floor Courtroom 5, Wilmington, DE
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